         Case
          Case2:04-cr-00239-KJD-PAL
                2:04-cr-00239-KJD-PAL Document
                                      Document200  Filed10/15/13
                                               199 Filed 10/23/13 Page
                                                                   Page11
                                                                        ofof
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 5
     Attorneys for Plaintiff
 6   United States of America

 7
                       UNITED STATES DISTRICT COURT
 8                          DISTRICT OF NEVADA
                                                 -oOo-
 9

10   UNITED STATES OF AMERICA,                     )    Case No. 2:04-cr-00239-KJD-PAL
                                                   )
11                         Plaintiff,              )    UNITED STATES’ MOTION TO DISMISS
                                                   )    THE INDICTMENT AND QUASH BENCH
12
                  v.                               )    WARRANT AS TO GAMLET
13                                                 )    RUBENYAN
     GAMLET RUBENYAN,                              )
14                                                 )
                           Defendant.              )
15

16          Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States, by

17   and through Daniel G. Bogden, United States Attorney, and Eric Johnson, Assistant United

18   States Attorney, hereby moves for leave to dismiss this case against GAMLET RUBENYAN.

19   This case was filed on June 1, 2005 and a Bench Warrant issued on September 26, 2006 after

20   RUBENYAN’s failure to appear for a Plea Hearing in the United States District Court, District

21   of Nevada. The government has conducted various database checks, to include Accurint, DCS

22   Amerifind System and TECS, using the identifiers of RUBENYAN and has been unable to

23   develop any additional leads as to RUBENYAN’s whereabouts.

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         Case
          Case2:04-cr-00239-KJD-PAL
                2:04-cr-00239-KJD-PAL Document
                                      Document200  Filed10/15/13
                                               199 Filed 10/23/13 Page
                                                                   Page22
                                                                        ofof
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 1
           WHEREFORE, the government hereby moves for leave to dismiss the Indictment in this
 2
     matter against defendant GAMLET RUBENYAN with prejudice, and further requests that the
 3
     Bench Warrant for defendant GAMLET RUBENYAN be quashed.
 4
           Dated this 15th day of October, 2013.
 5

 6                                                     DANIEL G. BOGDEN
                                                       United States Attorney
 7

 8                                                     /s/Eric Johnson

 9                                                     ERIC JOHNSON
                                                       Assistant United States Attorney
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         Case2:04-cr-00239-KJD-PAL
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                                     Document200  Filed10/15/13
                                              199 Filed 10/23/13 Page
                                                                  Page33
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 1
                    UNITED STATES DISTRICT COURT
 2                       DISTRICT OF NEVADA
                                             -oOo-
 3

 4   UNITED STATES OF AMERICA,                 ) Case No. 2:04-cr-00239-KJD-PAL
                                               )
 5                      Plaintiff,             ) ORDER
                                               )
 6            v.                               )
 7                                             )
     GAMLET RUBENYAN,                          )
 8                                             )
                        Defendant.             )
 9
                                           ORDER
10

11         Based on the foregoing motion of the government, leave is hereby granted and this

12   matter is dismissed with prejudice as to defendant GAMLET RUBENYAN. It is further

13   ordered that the Bench Warrant for defendant GAMLET RUBENYAN be quashed.

14
                             Oct 23, 2013
15
                                                     United States District Judge
16

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